                                    UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF ARIZONA (PHOENIX)



 In Re:                                             )
                                                                  Case No. 2:19-bk-11747-MCW
                                                    )
 Janet Duryea
                                                    )

                                                    )

                                  Debtor(s).        )             Chapter 7



                               CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN

 BK GLOBAL REAL ESTATE SERVICES TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §
                                          327



          COMES NOW the Chapter 7 Trustee, Lawrence Warfield, files this Application to Retain BK Global

Real Estate Services to procure consented public sale and pursuant to 11 U.S.C. § 327, states as follows:


          1.   Lawrence Warfield is the duly qualified and acting Chapter 7 Trustee of the bankruptcy estate

               of Janet Duryea.

          2. An asset of the bankruptcy estate is real property located at 8534 ELKHORN DR SHOW LOW,

               AZ 85901, and which is further described as follows:

                   Parcel Number: 304-26-331
                   Census Tract: 040179653.001026
                   Carrier Route: R010

                   Abbreviated Description: SILVER LAKE EST #1 LOT 331




               hereinafter referred to as the “Real Property”.

          3. The Debtor has not declared the Real Property as exempt.




Case 2:19-bk-11747-MCW                Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                  Desc
                                      Main Document    Page 1 of 9
      4. The Debtor listed the Real Property on the schedules as having a value of $115,000.00.

      5. The Real Property is subject to the following mortgage(s) or lien(s):

              a. First Mortgage Holder: Bank of America

              b. Second Mortgage Holder: Bank of America

      6. The Secured Creditors holding mortgages or liens pursuant to the Debtor’s Schedules or filed

          proofs of claims setting forth the following balances due and owing on the Real Property:

              a. Bank of America in an amount exceeding $60,764.00

              b. Bank of America in an amount exceeding $54,488.00

      7. Based upon the market value of the Real Property provided by the Debtor(s) and the Proof of

          Claim [or schedules], of the Debtor, the first mortgage debt is in excess of the market value

          of the Real Property.

      8. BK Global Real Estate Services (“BK Global”) provides services to trustees as BK Global has

          expertise and experience in assisting the trustee in negotiating with secured creditors to

          accomplish the following:

              a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter 7

                  Trustee determines to have made the best qualified offer with the sale approved by

                  the Court, pursuant to 11 U.S.C. § 363;

              b. Obtain the release the senior mortgage and waive all of its claims against the estate

                  with respect to the Real Property (including any deficiency claims resulting from the

                  proposed sale);

              c. Work with the secured mortgage holder to enter into an agreement for an 11 U.S.C.

                  § 506 surcharge to pay all of the closing expenses associated with the § 363 sale,

                  including the payment of a six percent (6%) real estate brokerage commission and

                  reimbursement of their out-of-pocket expenses to BK Global and any associated real




Case 2:19-bk-11747-MCW            Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                 Desc
                                  Main Document    Page 2 of 9
                  estate professional, paid from the proceeds of the sale, and provide a meaningful

                  carve out of 3% - 5% of the sale price for the benefit of the Bankruptcy Estate; and

              d. Make certain the amount of the carve out is clearly set out in the motion to sell the

                  Real Property pursuant to 11 U.S.C. § 363.

      9. BK Global will assist the Chapter 7 Trustee in negotiations with the first mortgage holder to

          obtain the consent of the first mortgage holder for the sale of the Real Property. The secured

          creditor will agree to a carve out from the sale price of the Real Property for the payment of

          a six percent (6%) real estate commission to BK Global, and any associated real estate

          professional, and a carve out of 3% - 5% of the sale price paid to the Bankruptcy Estate, which

          will result in a meaningful distribution. Upon a successful resolution with the Secured Creditor

          a separate motion will be filed seeking approval of the settlement terms and conditions.

      10. BK Global will not be entitled to any fees if the first mortgage holder does not grant its consent

          or the Court does not grant the motion to approve the sale of the Real Property.

      11. In no event will the bankruptcy estate have any obligation to pay BK Global or associated real

          estate professional for their services, or to pay the customary title and closing services. The

          terms of the listing agreement and this Application provide that BK Global or associated real

          estate professional are only entitled to payment if and when (a) secured creditor grants its

          consent, (b) the motion to approve sale is granted and (c) the Real Property is sold, in which

          event BK Global or associated real estate professional will receive a six percent (6%) real

          estate brokerage commission and obtain reimbursement of any out-of-pocket expenses.

      12. The Trustee believes that the highest and best value for the Real Property will be generated

          through a sale in which the Real Property is widely marketed to the public and offered at the

          highest price that the market will bear. The Trustee further believes that such a sale is in the

          best interest of the Debtor’s bankruptcy estate but can only be achieved if the Secured




Case 2:19-bk-11747-MCW          Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                       Desc
                                Main Document    Page 3 of 9
            Creditor’s consent is first obtained. The Chapter 7 trustee believes that retaining BK Global

            and/or an associated real estate professional to obtain the secured creditor’s consent is in the

            best interest of the Debtor’s bankruptcy estate.

        13. BK Global attested that it is a disinterested person within the meaning of Section 101(14) of

            the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a).


        WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the Court’s authority to

retain BK Global in this case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code; and for

such other and further relief as the Court determines is appropriate.




        DATED: January 23, 2021




                                         __/s/ Terry A. Dake_____________________________________

                                         Attorney for Chapter 7 Trustee, Lawrence J. Warfield




Case 2:19-bk-11747-MCW            Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                     Desc
                                  Main Document    Page 4 of 9
                                                 EXHIBIT A



                           BK Global Real Estate Brokerage Listing Agreement



This Real Estate Brokerage Listing Agreement (“Agreement”) is between

Lawrence Warfield (“TRUSTEE”) and BK Global Real Estate Services LLC (“BROKER”)

Authority to Sell Property: Trustee gives Broker the right to be the EXCLUSIVE BROKER in the sale of the
real and personal property (collectively “Property”) described below:

8534 ELKHORN DR SHOW LOW, AZ 85901

Upon full execution of a contract for sale and purchase of the Property and court approval, all rights and
obligations of this Agreement will automatically extend through the date of the actual closing of the
sales contract. Trustee and Broker acknowledge that this Agreement does not guarantee a sale. This
Property will be offered to any person without regard to race, color, religion, sex, handicap, familial
status, national origin, or any other factor protected by federal, state, or local law. Trustee certifies and
represents that she/he/it is legally entitled to convey the Property and all improvements.

Price: The starting listing price of the property will be: $_____________. If there are no acceptable
offers after 15 days, the list price will be reduced 5% and will reoccur every 15 days until the listing
expires or if an acceptable offer is received.

Brokers Obligations: Broker will assist the Trustee to make commercially reasonable efforts to procure
the consent and agreement of the senior mortgagee (“Secured Creditor”) to:

    a) Sell the Property under 11 U.S.C. § 363(b) to whichever third party you determine to have made
       the best qualified offer during a public sale approved by the court or agree to 11 U.S.C. § 363(k)
       and place a credit bid on the Property from the estate;

    b) Release its lien with respect to the Property; and

    c) Agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any commission payable to
       the local real estate broker and all other fees and expenses associated with the sale, and
       (y) provide a carve-out for the benefit of allowed unsecured creditors of the estate.




Case 2:19-bk-11747-MCW             Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                         Desc
                                   Main Document    Page 5 of 9
Brokers Duties: Broker or associated real estate professional duties will include but will not be limited to
the following services;

    •   Researching the real estate, running title and lien searches to identify creditors for resolution and
        any title issues.
    •   Advising the trustee of any issues and discuss potential resolutions.
    •   Conducting the resolutions under the trustee’s direction.
    •   Assisting the trustee in the collection of documents and information for employment.
    •   Making and identifying the correct contact with the secured creditors.
    •   Notifying the secured creditor of the upcoming sale and identifying servicer requirements.
    •   Assisting the trustee in establishing market value and negotiating with the Servicer an acceptable
        sales price and establishing a carve-out.
    •   Development of online marketing, email campaign and full nationwide marketing services.
    •   Conducting an onlinesale.
    •   Use of the BK Global technology platform.
    •   Assist the trustee in the review of all offers and coordinate the final documentation of the offer
        accepted by the trustee.
    •   Managing contract requirements such as inspections, appraisals and HOA applications.
    •   Coordinating closings and assisting the trustee in the collection of required information for court
        filing.
    •   Closing the transaction and ensure the estate has received the appropriate funds.
    •   Inspecting the property and completing a broker’s price opinion.
    •   Listing the property in the multiple listing service (MLS).
    •   Posting a for sale sign in the yard and coordinating showings.

Trustee Obligations: In consideration of Broker’s obligations, Trustee agrees to:

    a) Cooperate with Broker in carrying out the purpose of this Agreement
    b) Provide Broker with keys to the Property and make the Property available for Broker to show
       during reasonable times.
    c) File all court motions and documents in a timely manner to ensure a successful sale.
    d) Advise Broker of any special issues our court requirements.




Term of Agreement: The term of this Agreement will commence when signed by the Trustee and the
court approves it. This Agreement will automatically terminate upon the closing of the sale of the
Property, or it may be terminated by either party for any or no reason after 180 days from
commencement. In addition, this Agreement will be terminated if the Trustee files a Report of No




Case 2:19-bk-11747-MCW             Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                        Desc
                                   Main Document    Page 6 of 9
Distribution, files a Notice of Abandonment of the subject property, or submits a Trustee’s Final Report
to the Office of the United States Trustee.

Broker acknowledges and agrees that (a) the Trustee is not executing this Agreement in an individual
capacity, but solely as trustee of the estate, (b) Broker does not and will not have any right or claim with
respect to the estate and (c) Brokers sole recourse for payment of real estate commission, fees and
expenses will be paid at closing with court approval and under the Consent of the Secured.

This Agreement constitutes our complete agreement on this matter and supersedes all prior agreements
and representations concerning the same. It may not be modified or amended except in a writing
signed by both parties.

The effective date of this agreement is __________________.

BROKER:




By:                                         Acknowledged and agreed as of the date set forth above.
      Patrick Butler, Broker-in-Charge




TRUSTEE:




                                          Acknowledged and agreed as of the date set forth above.
Lawrence Warfield, not individually but solely as Trustee in the referenced matter.




Case 2:19-bk-11747-MCW              Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                    Desc
                                    Main Document    Page 7 of 9
                               UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF ARIZONA



 In Re:                                            )
                                                                  Case No. 2:19-bk-11747-MCW
                                                   )
 Janet Duryea
                                                   )

                                                   )

                             Debtor(s).            )              Chapter 7



 ORDER AUTHORIZING EMPLOYMENT OF BK GLOBAL REAL ESTATE SERVICES PURSUANT TO 11 U.S.C. §
                                        327




          THIS MATTER came before the court, pursuant to the Trustee’s Application to Employ BK Global

Real Estate Services pursuant to 11 U.S.C. § 327. The Court, having reviewed the Application to Retain BK

Global Real Estate Services holds no interest adverse to the estate, and is a disinterested party as required




Case 2:19-bk-11747-MCW             Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                     Desc
                                   Main Document    Page 8 of 9
by 11 U.S.C. §327(a), and having determined that the employment of a real estate broker and agent is

necessary and in the best interest of the estate, does:


ORDERED AND ADJUDGED:




        1. The Trustee is authorized to employ BK Global Real Estate Services, as a real estate broker

            and agent of the estate for the purpose of marketing and selling the real property located at:

            8534 ELKHORN DR SHOW LOW, AZ 85901


                Parcel Number: 304-26-331

                Census Tract: 040179653.001026

                Carrier Route: R010

                Abbreviated Description: SILVER LAKE EST #1 LOT 331




        2. Compensation to BK Global Real Estate Services shall be paid and expenses reimbursed as

            awarded by the Court upon proper application or in conjunction with an Order entered by the

            Court approving the sale of the real property at issue


                                         DATED AND SIGNED ABOVE.




Case 2:19-bk-11747-MCW            Doc 31 Filed 01/23/20 Entered 01/23/20 11:16:47                    Desc
                                  Main Document    Page 9 of 9
